83 F.3d 421
    Odeco Oil and Gas Company, Drilling Division, Odeco DrillingServices, Inc.v.David J. Bonnette, Juan M. Porras, Ottis L. Robbins, HenryBrumfield, Joel Thompson, Shell Oil Company, Shell OffshoreInc., Liverpool &amp; London P &amp; I Club, Louis A. Gerdes, Jr.,Whittaker Corporation (2 Cases)
    NO. 95-30041
    United States Court of Appeals,Fifth Circuit.
    Mar 21, 1996
    E.D.La., 74
    F.3d 671
    
      1
      DENIALS OF REHEARING EN BANC.
    
    